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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


CROGA INNOVATIONS LTD.,

              Plaintiff,
                                                   Case No. 2:24-cv-00065-JRG
v.                                                           (Lead Case)

CISCO SYSTEMS, INC.,
                                                    JURY TRIAL DEMANDED

               Defendants.


                                 NOTICE OF COMPLIANCE

       Defendant Fortinet, Inc., hereby notifies the Court that pursuant to the Court’s First

Amended Docket Control Order [Dkt. 53], it has served its Preliminary Invalidity Contentions on

counsel for Plaintiff via electronic mail on August 5, 2024.



Dated: August 6, 2024                                Respectfully submitted,

                                                      /s/ Melissa R. Smith
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                                                   Counsel for Defendant Fortinet, Inc.



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on this the 6th day of August 2024.



                                                     /s/ Melissa R. Smith
                                                    Melissa R. Smith
